 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page11ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page22ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page33ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page44ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page55ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page66ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page77ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page88ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page99ofof91
                                                                     91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page10
                                                               10ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page11
                                                               11ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page12
                                                               12ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page13
                                                               13ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page14
                                                               14ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page15
                                                               15ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page16
                                                               16ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page17
                                                               17ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page18
                                                               18ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page19
                                                               19ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page20
                                                               20ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page21
                                                               21ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page22
                                                               22ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page23
                                                               23ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page24
                                                               24ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page25
                                                               25ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page26
                                                               26ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page27
                                                               27ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page28
                                                               28ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page29
                                                               29ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page30
                                                               30ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page31
                                                               31ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page32
                                                               32ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page33
                                                               33ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page34
                                                               34ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page35
                                                               35ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page36
                                                               36ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page37
                                                               37ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page38
                                                               38ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page39
                                                               39ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page40
                                                               40ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page41
                                                               41ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page42
                                                               42ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page43
                                                               43ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page44
                                                               44ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page45
                                                               45ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page46
                                                               46ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page47
                                                               47ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page48
                                                               48ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page49
                                                               49ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page50
                                                               50ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page51
                                                               51ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page52
                                                               52ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page53
                                                               53ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page54
                                                               54ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page55
                                                               55ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page56
                                                               56ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page57
                                                               57ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page58
                                                               58ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page59
                                                               59ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page60
                                                               60ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page61
                                                               61ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page62
                                                               62ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page63
                                                               63ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page64
                                                               64ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page65
                                                               65ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page66
                                                               66ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page67
                                                               67ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page68
                                                               68ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page69
                                                               69ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page70
                                                               70ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page71
                                                               71ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page72
                                                               72ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page73
                                                               73ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page74
                                                               74ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page75
                                                               75ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page76
                                                               76ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page77
                                                               77ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page78
                                                               78ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page79
                                                               79ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page80
                                                               80ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page81
                                                               81ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page82
                                                               82ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page83
                                                               83ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page84
                                                               84ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page85
                                                               85ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page86
                                                               86ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page87
                                                               87ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page88
                                                               88ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page89
                                                               89ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page90
                                                               90ofof91
                                                                      91
 Case2:19-cv-01243-APG-NJK
Case  2:19-cv-01243-APG-NJK Document
                             Document24-1
                                      28 Filed
                                          Filed03/26/20
                                                01/21/20 Page
                                                          Page91
                                                               91ofof91
                                                                      91
